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EXHIBIT C
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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:
W.R. GRACE & CO., et al.

Debtors.

Nee! See! Nome’ Nee” “nae” See’

Chapter 11

Case No. 01-01139 (JKF)
(Jointly Administered)

Hearing Date: April 9, 2007

Related Docket No: 9315

RULE 1006 SUMMARY OF VOLUMINOUS WRITINGS

44 CLAIMS BARRED BY CANADIAN ULTIMATE LIMITATIONS PERIODS

Below is a list of the 44 Canadian PD claims barred by ultimate limitations periods. For
each claim, Column 4 of the list indicates the date of installation of a Grace asbestos-containing
product in the building at issue and Column 5 indicates the source of this date. Sources include:
(1) the James Cintani affidavit (Exhibit D to the Motion), (2) the claimants’ responses to certain
questions on the Claim Form, or (3) backup documentation that the claimants submitted in
support of their claims. Instead of attaching the Claim Forms and claim backup documentation

to the Motion, Debtors summarize the relevant content of those voluminous documents in

Columns 4 and 5 of this list.
Claim Province | Claimant Date of ‘Source of Date
Number Installation of Installation
1 011620 MB 354401 Alberta LTD. 1956 Proof of Claim,
c/o Redcliff Realty question 15
Management Inc.
11620-001-002, |
004

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PGHLIB-1993 155.2-DECAMERO 2/1 G/07 10:43 AM
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~ Claim
Number

Province

Claimant _

Date of
Installation

Source of Date

of Installation

011632

BC

School District 68
Nanaimo-Ladysmith

1960's at the

latest

Report of
Monenco
Consultants
Limited

11632-001-002,
029, 059-060

[012293

&

Calgary Board of Education

11962

Proof of Claim,

question 14

| 11293-001-002, .
| 004

012331

Calgary Board of Education

| Before 1991

Cintani affidavit

1012348

Calgary Board of Education

Before 1991

Cintani affidavit

012377

Edmonton Public Schools

Before 1991

Cintani affidavit

012388

zl Bl al |

. Edmonton Public Schools.

"1973 at the latest

Proof of Claim,
question 14

12388-001-002,
004

012394

o

Edmonton Public Schools

Before 1991

Cintani affidavit

012400

5

City of Edmonton

[967°

Proof of Claim,
question 15

12400-001-002,
004

012401

City of Edmonton

1965

Proof of Claim,
question 14

12401-001-002,
004

012410

bs

Calgary Board of Education

Before 199]

Cintani affidavit |

012412

&

Calgary Board of Education

Before 1991

Cintani affidavit

-2-

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EXHIBIT C

Claim Province Claimant Dateof | Source of Date
Number Installation | of Installation
012421 AB Oxford Properties Group —_—| 1973 | Proof of Claim,

question 14
12421-001-002,
004
012422 AB Oxford Properties Group _—| 1973 Proof of Claim,
question 14
12422-001-002, °
004
012423 AB _| Oxford Properties Group 1975 | Proof of Claim,
question 14
12423-001-002,
004
012438 AB Calgary Board of Education | Before 1991 Cintani affidavit
012439 AB Calgary Board of Education | Before 1991 Cintani affidavit
012440 AB _| Calgary Board of Education [Before 1991 | Cintani affidavit
012442 [AB Calgary Board of Education | Before 1991 Cintani affidavit
012443 “AB Calgary Board of Education | Before 1991 Cintani affidavit
012454 AB Calgary Board of Education | 1962 Proof of Claim,
question 14
12454-000, 002, |
004
012457 AB Calgary Board of Education { Before 1991 Cintani affidavit :
012489 AB City of Edmonton 1974 Proof of Claim,
question 15
| 12489-001-002,
4 004
-3-

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Claim ~—_—‘| Province: Claimant Date of Source of Date
Number Installation of Installation
012496 | AB Edmonton Public Schools | 1966 Proof of Claim,
question 14
12496-001-002,
004
012498 AB Edmonton Public Schools [Before 1991 __| Cintani affidavit
012500 AB Edmonton Public'Schools | Before 1991 | ‘Cintani affidavit
012501. | AB Edmonton Public Schools | Before 1991 | Cintani affidavit
012503 AB Edmonton Public Schools Before 1991 Cintani affidavit
012526. #«+| AB Hudson’s Bay Company __ Before 1991 Cintani affidavit
012528 AB Hudson’s Bay Company Before 1991 Cintani affidavit
012532 AB Hudson's Bay Company | Before 1991 Cintani affidavit
012537 AB "| Edmonton Public Schools | Before 1991 Cintani affidavit
012541 AB Edmonton Public Schools | Before 1991 Cintani affidavit
012542 AB | Edmonton Public Schools | Before 1991 | Cintani affidavit
012546 AB Edmonton Public Schools | Before 1991 Cintani affidavit.
012548 AB Edmonton Public Schools | Before 1991 | Cintani affidavit
012549 AB Edmonton Public Schools | Before 1991 Cintani affidavit
012554 AB Edmonton Public Schools | Before 1991 Cintani affidavit
012557 “TAB | Edmonton Public Schools | Before 1991 Cintani affidavit:
) 012570 AB ‘Calgary Board of Education | Before 1991 Cintani affidavit
012576 AB Edmonton Public Schools | 1968 | Proof of Claim,
question 14
| 12576-001-002,
| 004
-4-

| SEBO
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Chim Province] ~~ Claimant Dateof —_| Source of Date
Number Installation of Installation
012590 AB Calgary Board of Education | Before 1991 Cintani affidavit

} 012591 AB Calgary Board of Education Before 199] Cintani affidavit
[014885 AB _| Calgary Board of Education | Before 1991 | Cintani affidavit

The foregoing pages of the above documents, along with a copy of this Rule 1006
Summary, are contained in Debtors’ Appendix of Rule 1006 Summaries With Attached

Information.

Dated: February 16, 2007 QL 2 (7)

Douglag F. Cameron, Esq.

EXHIBIT C
